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                                 Hearing Date and Time: September 13, 2019 at 10:00 a.m. (EDT)
                                       Objection Deadline: September 6, 2019 at 4:00 p.m. (EDT)
CHAPMAN AND CUTLER LLP
Steven Wilamowsky
1270 Avenue of the Americas
30th Floor
New York, NY 10020-1708
Telephone: 212.655.6000

-and-

Aaron M. Krieger
111 West Monroe Street
Chicago, IL 60603-4080
Telephone: 312.845.3000

Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x

              NOTICE OF DEBTOR’S MOTION FOR ENTRY OF AN ORDER:
                (I) SETTING BAR DATES FOR SUBMITTING PROOFS OF
               CLAIM; (II) APPROVING PROCEDURES FOR SUBMITTING
             PROOFS OF CLAIM; AND (III) APPROVING NOTICE THEREOF

        PLEASE TAKE NOTICE that on August 29, 2019, the debtor and debtor in possession

(the “Debtor”) in the above-captioned case filed the Motion of Debtor for Entry of an Order: (I)

Setting Bar Dates for Submitting Proofs of Claim; (II) Approving Procedures for Submitting

Proofs of Claim; and (III) Approving Notice Thereof (the “Motion,” a copy of which is attached

hereto). A hearing (the “Hearing”) on the Motion will be held before the Honorable Robert D.



1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
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Drain of the United States Bankruptcy Court for the Southern District of New York (the

“Court”), in Room 248, 300 Quarropas Street, White Plains, New York 10601, on September

13, 2019, at 10:00 a.m. (EDT).

       PLEASE TAKE FURTHER NOTICE that any responses or objections (each, an

“Objection”) to the Motion and the relief requested therein shall be in writing, shall conform to

the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the Southern District

of New York, and the Order Granting Debtor’s Motion for Order Authorizing the Establishment

of Certain Notice, Case Management, and Administrative Procedures [Doc. No. 31] (the “Case

Management Order”), shall set forth the basis for the Objection and the specific grounds

therefore, and shall be filed with the Court electronically in accordance with General Order M-

399 by registered users of the Court’s case filing system (the User’s Manual for the Electronic

Case Filing System can be found at http://www.nysb.uscourts.gov, the official website for the

Court), with a hard copy delivered directly to chambers pursuant to Local Bankruptcy Rule

9070-1 and served so as to be actually received no later than September 6, 2019, at 4:00 p.m.

(EDT) (the “Objection Deadline”), upon the parties on the Service List (as defined in the Case

Management Order).




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Dated: August, 29, 2019
       New York, New York

                                 CHAPMAN AND CUTLER LLP
                                 Proposed Counsel for the Debtor and
                                 Debtor in Possession


                                 By:     /s/ Steven Wilamowsky
                                       Steven Wilamowsky
                                       1270 Avenue of the Americas
                                       30th Floor
                                       New York, NY 10020-1708
                                       Telephone: 212.655.6000

                                       -and-

                                       Aaron M. Krieger
                                       111 West Monroe Street
                                       Chicago, IL 60603-4080
                                       Telephone: 312.845.3000
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                                 Hearing Date and Time: September 13, 2019 at 10:00 a.m. (EDT)
                                       Objection Deadline: September 6, 2019 at 4:00 p.m. (EDT)

CHAPMAN AND CUTLER LLP
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30th Floor
New York, NY 10020-1708
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-and-

Aaron M. Krieger
111 West Monroe Street
Chicago, IL 60603-4080
Telephone: 312.845.3000

Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
                                                  1
Retrieval-Masters Creditors Bureau, Inc.,                 :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x

                 MOTION OF DEBTOR FOR ENTRY OF AN ORDER: (I)
            SETTING BAR DATES FOR SUBMITTING PROOFS OF CLAIM;
             (II) APPROVING PROCEDURES FOR SUBMITTING PROOFS
                 OF CLAIM; AND (III) APPROVING NOTICE THEREOF

        Retrieval-Masters Creditors Bureau, Inc. (the “Debtor”) respectfully states the following

in support of this motion (the “Motion”):2




1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
2
        Capitalized terms used but not otherwise defined herein shall have the meaning given to them elsewhere in
        (1) this Motion, (2) the Declaration of Russell H. Fuchs Pursuant to Local Bankruptcy Rule 1007-2 and in
        Support of “First Day” Motions [Doc. No. 2] (the “First Day Declaration”), and the “DIP Note” (as
        defined below), as applicable.
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                                              Relief Requested

       1.       The Debtor seeks entry of an order, substantially in the form annexed hereto as

Exhibit “A” (the “Bar Date Order”)3: (a) setting Bar Dates (as defined herein) for creditors to

submit Proofs of Claim (as defined herein) in this chapter 11 case; (b) approving the procedures

described herein for submitting Proofs of Claim in this chapter 11 case and the form of the Proof

of Claim annexed as Exhibit “B” hereto; and (c) approving the form and manner of service of

the notice of the Bar Dates, substantially in the form annexed hereto as Exhibit “C” (the “Bar

Date Notice”), including the publication version of the Bar Date Notice, substantially in the form

annexed hereto as Exhibit “D”, and allowing for publication on one occasion in The New York

Times (National Edition).

                                          Jurisdiction and Venue

       2.       This Court (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the Southern District of New York, dated January 31, 2012. The Debtor confirms its

consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), to the entry of an order by the Court in connection with this Motion to the extent that it

is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

       3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




3
       Except as otherwise defined herein, all terms shall have the meanings ascribed to them by the Bankruptcy
       Code. In particular, as used herein: (a) the term “claim” has the meaning given to it in section 101(5) of the
       Bankruptcy Code; (b) the term “entity” has the meaning given to it in section 101(15) of the Bankruptcy
       Code; (c) the term “governmental unit” has the meaning given to it in section 101(27) of the Bankruptcy
       Code; and (d) the term “person” has the meaning given to it in section 101(41) of the Bankruptcy Code.



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        4.     The bases bases for the relief requested herein are sections 105(a), 501, 502(b)(9),

and 503(b)(9) of the Bankruptcy Code, Bankruptcy Rules 2002 and 3003, rules 2002-1 and

3003-1 of the Local Bankruptcy Rules for the Southern District of New York (the “Local

Rules”), and the Procedural Guidelines for Filing Requests for Orders to Set the Last Date for

Filing Proofs of Claim of the United States Bankruptcy Court for the Southern District of New

York (the “Guidelines”).

                                           Background

        5.     The Debtor is a debt and medical receivables collection agency that was founded

in 1977 in New York City. Over time, the business grew into a thriving agency and, in 1995,

relocated to Elmsford, New York, where it is currently domiciled.

        6.     Russell H. Fuchs is the founder and Chief Executive Officer of the Debtor, and

owns 100% of the equity interests in the Debtor.

        7.     The Debtor had two basic business segments. The first principally involved

collections from retail consumer debtors of direct mail marketers, among others. The second

involved the collection of receivables on behalf of clinical diagnostic laboratories, and did

business under the name American Medical Collection Agency

        8.     In March 2019, the Debtor became aware of a significant IT security breach

involving its servers. That led to a cascade of events that ultimately necessitated the

commencement of the instant chapter 11 case.

        9.     On June 17, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under the Bankruptcy Code. The Debtor is operating its business and managing its

properties as a debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code.




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       10.     On July 2, 2019, the Office of the United States Trustee appointed the Official

Committee of Unsecured Creditors (the “Committee”) in this Chapter 11 Case. See Notice

Appointing Creditors Committee [Doc. No. 44].

       11.     A more detailed description of the Debtor’s businesses and its reasons for

commencing its chapter 11 case are set forth in the First Day Declaration, which First Day

Declaration is incorporated herein by reference.

                                           Proposed Bar Dates

       12.     Except as otherwise set forth herein, the Debtor seeks to establish 5:00 p.m.

prevailing Eastern Time on October 23, 2019, (the “General Claims Bar Date”) as the deadline

by which all persons and entities must submit proofs of claim (each, a “Proof of Claim”)

asserting claims that arose on or before the Petition Date (each, a “Claim”) against the Debtor in

this chapter 11 case. This date is 35 days after September 18, 2019, the date by which the Debtor

proposes to disseminate the bar date packages with the Bar Date Notice. The proposed General

Claims Bar Date includes Claims asserted under section 503(b)(9) of the Bankruptcy Code.4 If

approved, the proposed General Claims Bar Date would occur at least 35 days after the proposed

date of service of the Bar Date Notice as set forth herein and is therefore in compliance with the

Guidelines.

       13.     In addition to the General Claims Bar Date, pursuant to section 502(b)(9), the

deadline by which all governmental units must submit Proofs of Claim asserting Claims that




4
       “503(b)(9) Claims” are Claims on account of goods received by a Debtor within 20 days before the Petition
       Date, where such goods were sold to the Debtor in the ordinary course of such Debtor’s business, and
       entitled to administrative expense priority pursuant to section 503(b)(9) of the Bankruptcy Code. See 11
       U.S.C. § 503(b)(9). The Debtor is not presently aware of any claimants having 503(b)(9) claims, but is
       providing for their assertion herein out of an abundance of caution.



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arose on or before the Petition Date against the Debtor in this chapter 11 case (the

“Governmental Bar Date”) is 5:00 p.m. prevailing Eastern Time on December 16, 2019.

       14.     The Debtor seeks authority to establish supplemental bar dates (any such date, a

“Supplemental Bar Date”) without further order of the Bankruptcy Court to the extent the

Debtor amends or supplements its schedules of assets and liabilities (collectively, the

“Schedules”) to provide adequate notice and opportunity to submit a Proof of Claim to parties

holding claims affected thereby. In such instances, the Debtor will provide such parties with

notice, in a form substantially similar to the Bar Date Notice, that will clearly set forth the

Supplemental Bar Date by which such parties must submit a Proof of Claim (and which shall

afford parties at least 35 days from the notice date to submit Proofs of Claim consistent with the

Guidelines).

       15.     Lastly, the Debtor seeks to require any person or entity that holds a Claim arising

from the rejection of an executory contract or unexpired lease to submit a Proof of Claim based

on such rejection on or before the later of: (a) the General Claims Bar Date; and (b) any date the

Bankruptcy Court may fix in the applicable order authorizing such rejection and, if no such date

is provided, 30 days from the date of entry of such order (the “Rejection Bar Date,” and

together with the General Claims Bar Date, the Supplemental Bar Date and the Governmental

Bar Date, collectively, the “Bar Dates”). The Debtor will provide notice of the Rejection Bar

Date to the contract or lease counterparty whose contract or lease is being rejected at the time the

Debtor rejects any executory contract or unexpired lease.

                     Proposed Procedures for Submitting Proofs of Claim

I.     Parties Required to Submit a Proof of Claim




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       16.     In accordance with the Guidelines and Bankruptcy Rule 3003(c)(2), the Debtor

proposes that any person or entity other than those listed below that holds a Claim against the

Debtor be required to submit a Proof of Claim to assert such Claim in accordance with the Bar

Date Order. Subject to Bankruptcy Court approval of the Bar Dates and Bar Date Order, the

Debtor proposes that the following persons or entities do not need to submit a Proof of Claim in

this chapter 11 case:

                        a.    any person or entity that has already submitted a Proof of Claim
                              against the Debtor with the Clerk of the Bankruptcy Court in a
                              form substantially similar to Official Bankruptcy Form No. 410;

                        b.    any person or entity whose Claim is listed on the Schedules filed
                              by the Debtor; provided that: (i) the Claim is not scheduled as
                              “disputed,” “contingent,” or “unliquidated”; and (ii) the claimant
                              agrees with the amount, nature, and priority of the Claim as set
                              forth in the Schedules;

                        c.    any holder of a Claim previously allowed by order of the
                              Bankruptcy Court;

                        d.    any holder of a Claim that has already been paid in full;

                        e.    any holder of a Claim for which a specific deadline has previously
                              been fixed by the Bankruptcy Court or otherwise fixed pursuant to
                              the Bar Date Order;

                        f.    any holder of a Claim based on an equity interest in the Debtors;

                        g.    any holder of a claim allowable under sections 503(b) and
                              507(a)(2) of the Bankruptcy Code as an expense of administration
                              incurred in the ordinary course, provided that any person or entity
                              asserting a claim entitled to administrative expenses status under
                              section 503(b)(9) of the Bankruptcy Code must assert such claims
                              by filing a request for payment or a Proof of Claim on or prior to
                              the General Claims Bar Date;

                        h.    any current employee of the Debtors, if an order of the Bankruptcy
                              Court authorized the Debtors to honor such Claim in the ordinary
                              course of business as a wage, commission, or benefit; and

                        i.    any current or former officer or director for indemnification,
                              contribution, or reimbursement.



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II.    The Proof of Claim Form

       17.     The Debtor seeks approval of the form of the Proof of Claim annexed as Exhibit

“B” hereto, which, although based upon Official Form 410, has been modified to allow creditors

to assert 503(b)(9) Claims.

III.   Requirements for Preparing and Submitting Proofs of Claim

       18.     In accordance with the Guidelines, the Debtor requests that the Bankruptcy Court

require all Proofs of Claim submitted in this chapter 11 case be consistent with the following.

                      a.       Each Proof of Claim must: (i) be written in English; (ii) include a
                               Claim amount denominated in United States dollars; (iii) conform
                               substantially with the Proof of Claim Form provided by the Debtor
                               or Official Form 410; (iv) be filed in accordance with the Bar Date
                               Order; and (v) unless otherwise consented to by the Debtor in
                               writing, include supporting documentation unless voluminous, in
                               which case a summary must be attached or an explanation
                               provided as to why documentation is not available.

                      b.       In addition to the requirements set forth in (a) above, any Proof of
                               Claim asserting a 503(b)(9) Claim must also: (i) include the value
                               of the goods delivered to and received by the Debtor in the 20 days
                               prior to the Petition Date; (ii) attach any documentation identifying
                               the particular invoices for which the 503(b)(9) Claim is being
                               asserted; (iii) attach documentation of any reclamation demand
                               made to the Debtor under section 546(c) of the Bankruptcy Code
                               (if applicable); and (iv) set forth whether any portion of the
                               503(b)(9) Claim was satisfied by payments made by the Debtor
                               pursuant to any order of the Bankruptcy Court authorizing the
                               Debtor to pay prepetition Claims.

                      c.       Attorneys (with full access accounts) and employees of
                               institutional creditors (with limited access accounts) should file
                               proofs of claim electronically on the Court’s Case
                               Management/Electronic Case File (“CM/ECF”) system. Those
                               without accounts with the CM/ECF system may electronically
                               create and file proofs of claim through the “File A Proof of Claim”
                               link on the Court’s website at www.nysb.uscourts.gov or by
                               mailing or delivering the original proof of claim to the United
                               States Bankruptcy Court, Southern District of New York, Office of
                               the Clerk of the Bankruptcy Court, 300 Quarropas Street, White
                               Plains, New York 10601.



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                       d.     Proofs of claim will be deemed filed only when received by the
                              Clerk of the Bankruptcy Court on or before the Bar Date.

   PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC MAIL
  WILLNOT BE ACCEPTED AND WILL NOT BE DEEMED TIMELY SUBMITTED.

IV.    Consequences of Failing to Timely Submit a Proof of Claim

       19.     In accordance with Bankruptcy Rule 3003(c)(2) and the Guidelines, the Debtor

proposes that any entity that is required, but fails, to submit a Proof of Claim in accordance with

the Bar Date Order on or before the applicable Bar Date be forever barred, estopped, and

enjoined from asserting such Claim—including any such Claim asserting administrative

expenses status under section 503(b)(9) of the Bankruptcy Code – against the Debtor (or

submitting a Proof of Claim with respect to that claim), and the Debtor and its property be

forever discharged from any and all indebtedness or liability with respect to or arising from that

Claim. Moreover, the Debtor proposes that such creditor be prohibited from: (a) voting on any

chapter 11 plan filed in this chapter 11 case on account of such Claim, and (b) participating in

any distribution in this chapter 11 case on account of such Claim.

                                      The Bar Date Notice

       20.     The Bar Date Notice is substantially similar to the form notice annexed to the

Guidelines, as required thereby. Among other things, the proposed Bar Date Notice: (a)

identifies the Bar Dates; (b) includes detailed procedures for submitting a timely and accurate

Proof of Claim; (c) lists the parties who are not required to submit a Proof of Claim; (d)

describes the consequences of failing to submit a Proof of Claim in accordance with the Bar Date

Order and Guidelines; and (e) provides creditors with the name and telephone number of the

individuals to whom questions may be addressed and from whom additional information may be

obtained.




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       21.     By no later than September 18, 2019 (35 days in advance of the General Claims

Bar Date), the Debtor will cause the Bar Date Notice and a Proof of Claim form to be served by

first-class mail upon:

                         a.    the U.S. Trustee;

                         b.    counsel to the Committee (if any) and any other official committee
                               formed in this chapter 11 case;

                         c.    any persons or entities that have requested notice of the
                               proceedings in this chapter 11 case pursuant to Bankruptcy Rule
                               2002;

                         d.    all persons or entities that have submitted Proofs of Claim against
                               the Debtor;

                         e.    all known creditors and other known holders of Claims against the
                               Debtor, including all persons or entities listed in the Schedules for
                               which the Debtor has addresses;

                         f.    all parties to executory contracts and unexpired leases of the
                               Debtor;

                         g.    all parties to litigation with the Debtor (through their counsel, if
                               known), and all counsel identified as counsel for any plaintiffs on
                               the docket of the multi-district litigation captioned In re: American
                               Medical Collection Agency, Inc., Customer Data Security Breach
                               Litigation (MDL No. 2904) before the United States Judicial Panel
                               on Multidistrict Litigation, provided that in the case of class action
                               litigation, service will be provided only to named plaintiff(s)
                               through their counsel;

                         h.    the Internal Revenue Service for the Southern District of New
                               York;

                         i.    any other governmental units applicable to the Debtor’s
                               businesses; and

                         j.    attorneys general for all fifty states in which the Debtor conducts
                               business.

       22.     The Debtor also intends to provide notice of the Bar Dates by publication to help

ensure that all potential claimants receive adequate notice of the Bar Dates. Specifically, the

Debtor proposes to publish the Bar Date Notice, modified for publication substantially in the


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form annexed hereto as Exhibit “D”, on one occasion in The New York Times (National

Edition), at least 28 days before the General Claims Bar Date in accordance with Bankruptcy

Rule 2002 and the Guidelines.

                                          Basis for Relief

I.     The Proposed Bar Dates Comply with the Guidelines and Should Be Approved

       23.     Generally, claimants must submit a Proof of Claim to assert a Claim in a

bankruptcy proceeding. See 11 U.S.C. § 501(a). Bankruptcy Rule 3003(c)(3) typically governs

the submission of Proofs of Claim in a chapter 11 case and provides, in relevant part, that “[t]he

court shall fix and for cause shown may extend the time within which proofs of claim or interest

may be filed.” General claims bar dates are integral to the twin goals of chapter 11 – preserving

going-concerns and maximizing creditor recovery value. See In re Waterman S.S. Corp., 59

B.R. 724, 726 (Bankr. S.D.N.Y. 1986). Indeed, prolonged uncertainty regarding the aggregate

liabilities of the bankruptcy estate could delay or derail the development of a sound restructuring

plan process to the detriment of creditors and parties in interest. Id. (“Absent the setting of a bar

date, a Chapter 11 case could not be administered to a conclusion.”).

       24.     Recognizing the importance of setting deadlines for submitting claims against a

debtor, courts in this jurisdiction routinely approve relief similar to that requested in the motion.

See, e.g., 21st Century Oncology Holdings, Inc., Case No. 17-22770 (RDD) (Bankr. S.D.N.Y.

July 24, 2017) (setting general and governmental bar dates); In re BCBG Max Azria Glob.

Holdings, LLC, Case No. 17-10466 (SCC) (Bankr. S.D.N.Y. Apr. 26, 2017) (same); In re Avaya

Inc., Case No. 17-10089 (SMB) (Bankr. S.D.N.Y. Mar. 22, 2017) (same); In re Sabine Oil &




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Gas Corp., Case No. 15-11853 (SCC) (Bankr. S.D.N.Y. Nov. 10, 2015) (same); In re Hawker

Beechcraft, Inc., Case No. 12-11873 (SMB) (Bankr. S.D.N.Y. July 26, 2012) (same).5

       25.      To ensure that the Debtor is able to confirm and consummate a plan, the Debtor

will require accurate information regarding the nature, validity, amount, and status of all Claims

that will be asserted against its estate in this chapter 11 case. It is important that the Debtor

begins the claims analysis and reconciliation process as soon as possible pursuant to clear

procedures designed to both limit confusion on the part of creditors and facilitate an efficient

process that conserves estate resources. Fixing the Bar Dates as proposed herein will help the

Debtor accomplish the foregoing objectives.

       26.      In addition, requiring holders of 503(b)(9) Claims to assert such Claims using the

Form of Proof of Claim attached hereto on or prior to the General Claims Bar Date will ensure

that the Debtor has accurate information regarding the nature, validity, and amount of such

503(b)(9) Claims while affording parties asserting 503(b)(9) Claims appropriate and adequate

notice. Moreover, this approach facilitates a cost-effective, efficient claims process for such

creditors and helps conserve estate resources to the benefit of the Debtor’s unsecured creditors.6

       27.      Although the Guidelines include holders of claims allowable under section 503 of

the Bankruptcy Code in the list of parties not required to submit a Proof of Claim, the Guidelines

also provide that “there will of course be variations in specific situations and the list is not

intended to be exhaustive.” See Guidelines, at ¶ 9. The Debtor submits that requiring parties to

assert 503(b)(9) Claims by Proof of Claim on or before the General Claims Bar Date is justified


5
       Because of the voluminous nature of the orders cited herein, such orders have not been attached to this
       motion. Copies of these orders are available upon request of the Debtor’s proposed counsel.
6
       Parties asserting administrative claims under all other sub-parts of section 503(b) of the Bankruptcy Code
       must make separate requests for payment in accordance with section 503(a) of the Bankruptcy Code.



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and warranted under the circumstances present here. Indeed, other courts in this jurisdiction

regularly deviate from the Guidelines with respect to fixing bar dates for submitting claims under

section 503(b)(9) of the Bankruptcy Code. See, e.g., 21st Century Oncology Holdings, Inc., Case

No. 17-22770 (RDD) (Bankr. S.D.N.Y. July 24, 2017) (establishing a bar date for 503(b)(9)

claims); In re BCBG Max Azria Glob. Holdings, LLC, Case No. 17-10466 (SCC) (Bankr.

S.D.N.Y. Apr. 26, 2017) (same); In re Avaya Inc., Case No. 17-10089 (SMB) (Bankr. S.D.N.Y.

Mar. 22, 2017) (same); In re Sabine Oil & Gas Corp., Case No. 15-11853 (SCC) (Bankr.

S.D.N.Y. Nov. 10, 2015) (same); In re Hawker Beechcraft, Inc., Case No. 12-11873 (SMB)

(Bankr. S.D.N.Y. July 26, 2012) (same).7

       28.      Finally, the Bar Dates proposed herein comply with the Guidelines and the

applicable provisions of the Bankruptcy Code, are appropriate, and should thus be approved.

First, the General Claims Bar Date will be at least 35 days after the Debtor provides notice to

claimants of such bar date. Second, the Governmental Bar Date is not less than 180 days after

the Petition Date in accordance with section 502(b)(9) of the Bankruptcy Code. Third, the

Rejection Bar Date and Supplemental Bar Dates are necessary to provide the Debtor with

flexibility to handle situations in which a creditor’s claim status may change during this chapter

11 case (such as in the event of contract or lease rejections) or to ensure that creditors receive

proper notice and an opportunity to assert claims. Accordingly, the Debtor requests the

Bankruptcy Court establish the Bar Dates set forth herein.




7
       Because of the voluminous nature of the orders cited herein, such orders have not been attached to this
       motion. Copies of these orders are available upon request of the Debtor’s proposed counsel.



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II.    The Proposed Procedures for Submitting Proofs of Claim Should Be Approved

       29.     The Debtor has worked to design procedures that: (a) provide creditors with

ample notice and opportunity to submit Proofs of Claim, (b) provide a clear process for effecting

the same, and (c) achieve administrative and judicial efficiency. Indeed, the procedures

described above are calibrated to achieve the twin goals of providing comprehensive notice and

clear instructions to creditors, on the one hand, and allowing this chapter 11 case to move

forward quickly with a minimum of administrative expense and delay, on the other hand.

       30.     Among other things, the proposed procedures provide clear instructions for

submitting Proofs of Claim that are calculated to avoid confusion or uncertainty among creditors

that might lead them to submit unnecessary protective Proofs of Claim or multiple Proofs of

Claim, which, in either event, would result in unnecessary expense and delay in the claims

reconciliation process for all parties affected thereby.

III.   The Proposed Form and Manner of the Bar Date Notice Should be Approved

       A.      The Form of Bar Date Notice Satisfies the Requirements of the Guidelines

       31.     The Bar Date Notice substantially conforms to the form notice annexed to the

Guidelines, varying only to the extent appropriate and necessary. Moreover, the publication

version of the Bar Date Notice will be substantially similar to the attached Bar Date Notice and

will only omit provisions that are not applicable or are not absolutely necessary (such as the

official definition of “claim”) to reduce publication costs. See Guidelines, at ¶ 5.

       32.     The Debtor believes that the Bar Date Notice and Bar Date Order and all exhibits

and attachments thereto substantially comply with the applicable rules and the Guidelines

establishing the procedural guidelines relating to the establishment of bar dates and providing

notice thereof. The Bar Date Notice and the Bar Date Order were modeled on the forms attached




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to the Guidelines. The Debtor submits that any alterations to these forms are appropriate,

minimal, and generally have been limited to those instances where such deviations: (a) are

necessary or appropriate; (b) adopt changes that are expressly contemplated by the Guidelines; or

(c) provide additional information for the benefit of potentially interested parties.

        B.      The Proposed Notice and Service Satisfies Due Process Requirements

        33.     Bankruptcy Rule 2002(a)(7) requires that the Debtor provides claimants at least

21-days’ notice by mail of the time fixed for submitting Proofs of Claim pursuant to Bankruptcy

Rule 3003(c). In addition, Bankruptcy Rule 2002(l) provides that the Bankruptcy Court may

order notice by publication if it finds that notice by mail is impractical or that it is desirable to

supplement other notice. Bankruptcy Rule 9008 also provides that the Bankruptcy Court shall

determine the form and manner of publication notice, the newspapers used, and the frequency of

publication.

        34.     To determine the adequacy of notice to a creditor, the case law distinguishes

between “known” and “unknown” creditors. Generally speaking, the former is a creditor whose

identity is either known or is reasonably ascertainable by the debtor, while the latter is one whose

interests are conjectural or future or, although potentially discoverable upon investigation, do not

come to the knowledge of the debtor in the ordinary course of business. See Tulsa Prof’l

Collection Serv., Inc. v. Pope, 485 U.S. 478, 490 (1988); Mullane v. Central Hanover Bank &

Trust Co., 339 U.S. 306, 317 (1950) (publication is acceptable where it is not “reasonably

possible or practicable to give more adequate warning,” whereas when names and addresses are

available, notice must be mailed).

        35.     Where a creditor is known to the debtor, due process requires that the debtor take

reasonable steps, such as direct mailing, to provide actual notice of the deadline for submitting




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proofs of claim. See, e.g., In re Enron Corp., Case No. 01-16034, 2006 WL 898031, at *4

(Bankr. S.D.N.Y. Mar. 29, 2006) (“[D]ebtor must send actual notice of the bar date to any

known creditor, while constructive notice is generally sufficient with an unknown creditor.”);

Daewoo Int’l (Am.) Corp. Creditor Trust v. SSTS Am. Corp., Case No. 02-9629, 2003 WL

21355214, at *3 (S.D.N.Y. June 11, 2003) (same); Pope, 485 U.S. at 491 (where creditor was

known or “reasonably ascertainable,” then due process only requires “notice by mail or other

means as certain to ensure actual notice”).

         36.      Where a creditor is unknown to the debtor, due process requires only that the

debtor take reasonable steps, such as notice by publication, to provide constructive notice of the

deadline for submitting proofs of claim. See, e.g., In re XO Commc’ns, 301 B.R. 782, 793

(Bankr. S.D.N.Y. 2003) (finding that if a creditor is unknown constructive notice is generally

sufficient); DePippo v. Kmart Corp., 335 B.R. 290, 296 (S.D.N.Y. 2005) (“It is well-settled that

when a creditor is ‘unknown’ to the debtor, publication notice of the claims bar date is adequate

constructive notice sufficient to satisfy due process requirements . . . .”); In re U.S.H. Corp. of

New York, 223 B.R. 654, 659 (Bankr. S.D.N.Y. 1998) (same). Furthermore, debtors are not

required to publish notice in an excessive number of publications. See In re Best Prods. Co.,

Inc., 140 B.R. 353 (Bankr. S.D.N.Y. 1992) (finding it impracticable to expect a debtor to publish

notice in every newspaper that an unknown creditor possibly may read).8


8
  While the Debtor will of course serve the Bar Date Notice upon counsel for the named plaintiffs in any of the
purported class actions associated with the data breach suffered by the Debtor, the Debtor submits that any
individual whose personal information may or may not have been compromised in connection with the data breach,
but who has not, as of the date hereof, commenced an action against the Debtor in an appropriate forum alleging a
specific harm arising therefrom, is not a “known creditor” for purposes hereof and that the mere fact that an
individual may have been subjected to an increased risk of identity fraud or related harms is insufficient to render
such individual a “known creditor” of the Debtor’s estate. In this regard, see, Fero v. Excellus Health Plain, Inc.,
236 F. Supp. 3d 735, 753 (W.D.N.Y. 2017), on reconsideration sub nom. Fero v. Excellus Health Plan, Inc., 304 F.
Supp. 3d 333 (W.D.N.Y. 2018) (finding that individuals who have suffered only the alleged harm of increased risk
of identity fraud have suffered only speculative harms insufficient to confer standing). See also In re: Credit-Based



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         37.      To provide creditors reasonably known to the Debtor with actual notice of the Bar

Dates proposed herein, the Debtor proposes to serve the Bar Date Notice by no later than

September 18, 2019 (35 days in advance of the General Claims Bar Date) upon all known

creditors identified during a thorough review of the Debtor’s books and records. As such, the

Debtor will be providing actual notice to creditors reasonably known to them with no less than

35-days’ notice of the General Claims Bar Date in satisfaction of Bankruptcy Rule 2002(a)(7).

         38.      After the initial mailings of the Bar Date Notices and Proof of Claim Forms, the

Debtor may, in its discretion, make supplemental mailings of notices, including in the event that:

(a) notices are returned by the post office with forwarding addresses;9 (b) certain parties acting

on behalf of parties in interest (e.g., banks and brokers with respect to equity interest holders)

decline to pass along notices to these parties and instead provide their names and addresses to the

Debtor for direct mailing; and (c) additional claimants become known to the Debtor. In these

and similar circumstances, the Debtor requests that the Bankruptcy Court permit them to make

supplemental mailings of the Bar Date Notices and Proof of Claim Forms at any time up to 21

days in advance of the applicable Bar Date, with any such mailings deemed timely and the

applicable Bar Date being enforced against the relevant creditors.

         39.      To provide creditors unknown to the Debtor with constructive notice of the Bar

Dates proposed herein, the Debtor proposes to publish the Bar Date Notice, modified as

necessary (but consistent with the requirements of the Guidelines), in The New York Times

(National Edition) on one occasion no later than 28 days prior to the General Claims Bar Date.



Asset Servicing and Securitization LLC, 2014 WL 7177629, at *2 (Bankr. S.D.N.Y. Dec. 9, 2014) (“For unknown
creditors, including creditors whose claims are speculative or conjectural, constructive notice of the Bar Date,
including notice through publication, suffices.”) (citations and internal quotation marks omitted) (emphasis added).
9
         However, if notices are returned as “return to sender” without a forwarding address, the Debtor respectfully
         requests that they should not be required to mail additional notices to such creditors.



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As such, the Debtor will be providing unknown creditors with at least 28 days’ constructive

notice of the General Claims Bar Date in satisfaction of the Guidelines and Bankruptcy Rule

2002(a)(7).

       40.     In light of the foregoing, service and publication of the Bar Date Notice as

proposed herein is reasonably designed to reach all interested parties in a cost-effective manner

and satisfies the requirements of the relevant provisions of the Bankruptcy Code, Bankruptcy

Rules, Local Bankruptcy Rules, and the Guidelines. Accordingly, the Debtor respectfully

requests that the Bankruptcy Court deem the proposed form of Bar Date Notice and mailing and

publication thereof good, adequate, and sufficient notice of the Bar Dates set forth herein.

                                         Motion Practice

       41.     This Motion includes citations to the applicable rules and statutory authorities

upon which the relief requested herein is predicated and a discussion of its application to this

Motion. Accordingly, the Debtor submits that this Motion satisfies Local Rule 9013-1(a).

                                              Notice

       42.     The Debtor will provide notice of this Application in a manner compliant with the

Court’s Order Granting Debtor’s Motion for Order Authorizing the Establishment of Certain

Notice, Case Management, and Administrative Procedures [Doc. No. 31], dated June 24, 2019.

                                        No Prior Request

       43.     No prior request for the relief sought in this Motion has been made to this or any

other court.

                           [Remainder of page intentionally left blank.]




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       WHEREFORE, the Debtor respectfully requests that the Court enter the Order granting

the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Dated: August 29, 2019
       New York, New York

                                      CHAPMAN AND CUTLER LLP
                                      Proposed Counsel for the Debtor and
                                      Debtor in Possession


                                      By:     /s/ Steven Wilamowsky
                                            Steven Wilamowsky
                                            1270 Avenue of the Americas
                                            30th Floor
                                            New York, NY 10020-1708
                                            Telephone: 212.655.6000

                                            -and-

                                            Aaron M. Krieger
                                            111 West Monroe Street
                                            Chicago, IL 60603-4080
                                            Telephone: 312.845.3000
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                                   EXHIBIT “A”

                              Proposed Bar Date Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x

   ORDER (I) SETTING BAR DATES FOR SUBMITTING PROOFS OF CLAIM, (II)
  APPROVING PROCEDURES FOR SUBMITTING PROOFS OF CLAIM, AND (III)
                        APPROVING NOTICE THEREOF
______________________________________________________________________________

        Upon the motion (the “Motion”)2 of the debtor and debtor in possession (the “Debtor”)

for entry of an order (this “Bar Date Order”) pursuant to Federal Rule of Bankruptcy Procedure

3003(c)(3): (a) setting bar dates for creditors to submit Proofs of Claim in this chapter 11 case;

(b) approving procedures for submitting Proofs of Claim; and (c) approving the form of notice of

the bar dates and manner of service thereof; all as more fully set forth in the Motion; and upon

the First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the Southern District of New York, dated January 31, 2012; and that this Court

may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. §157(b); and this Court having found that the Debtor’s notice

of the Motion and opportunity for a hearing on the Motion were appropriate under the

1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
2
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing, if any,

before this Court (the “Hearing”); and this Court having determined that the legal and factual

bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;

and upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted to the extent set forth herein.

       2.      Except as otherwise provided herein, all persons and entities including, without

limitation, individuals, partnerships, corporations, joint ventures, and trusts, that assert a claim

(as defined in section 101(5) of the Bankruptcy Code) against the Debtor which arose before

June 17, 2019 (the “Petition Date”), including claims pursuant to section 503(b)(9) of the

Bankruptcy Code (each, a “503(b)(9) Claim”), shall submit a written proof of such Claim

through the Court’s website at www.nysb.uscourts.gov so that it is actually received on or before

5:00 p.m. (EDT) on October 23, 2019 (the “General Claims Bar Date”).

       3.      Notwithstanding any other provision of this Bar Date Order, Proofs of Claim

submitted by governmental units must be filed so as to be actually received on or before 5:00

p.m. (EST) on December 16, 2019 (the “Governmental Bar Date”).

       4.      Any person or entity that holds a Claim arising from the rejection of an executory

contract or unexpired lease must submit a Proof of Claim based on such rejection on or before

the later of: (a) the General Claims Bar Date; and (b) any date this Court may fix in the

applicable order authorizing such rejection and, if no such date is provided, 30 days from the

date of entry of such order. The Debtor will provide notice of the Rejection Bar Date to the




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contract or lease counterparty whose contract or lease is being rejected at the time the Debtor

rejects any executory contract or unexpired lease.

       5.      If the Debtor amends or supplements its Schedules subsequent to the date hereof,

the Debtor shall provide notice of any amendment or supplement to the holders of Claims

affected thereby. The Debtor shall also provide such holders with notice that they will be

afforded at least 35 days from the date of such notice to submit Proofs of Claim with respect to

Claims affected by the amendment or supplement of the Schedules or otherwise be forever

barred from doing so.

       6.      In accordance with Bankruptcy Rule 3003(c)(2) and the Guidelines, any holder of

a Claim that is not excepted from the requirements of the Bar Date Order and fails to timely

submit a Proof of Claim in the appropriate form shall be forever barred, estopped, and enjoined

from: (a) asserting such Claim against the Debtor and its chapter 11 estate; (b) voting on any

chapter 11 plan filed in this case on account of such Claim; and (c) participating in any

distribution in this chapter 11 case on account of such Claim.

       7.      The form of Proof of Claim annexed as Exhibit “B” to the Motion is hereby

approved.

       8.      The following procedures for the submission of Proofs of Claim asserting Claims

against the Debtor in this chapter 11 case shall apply:

                        (a)    Each Proof of Claim must: (i) be written in English; (ii) include a
                               Claim amount denominated in United States dollars; (iii) conform
                               substantially with the Proof of Claim Form provided by the Debtor
                               or Official Form 410; (iv) be filed in accordance with this Bar Date
                               Order; and (v) unless otherwise consented to by the Debtor in
                               writing, include supporting documentation unless voluminous, in
                               which case a summary must be attached or an explanation
                               provided as to why documentation is not available.

                        (b)    In addition to the requirements set forth in (a) above, any Proof of
                               Claim asserting a 503(b)(9) Claim must also: (i) include the value


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                              of the goods delivered to and received by the Debtor in the 20 days
                              prior to the Petition Date; (ii) attach any documentation identifying
                              the particular invoices for which the 503(b)(9) Claim is being
                              asserted; (iii) attach documentation of any reclamation demand
                              made to the Debtor under section 546(c) of the Bankruptcy Code
                              (if applicable); and (iv) set forth whether any portion of the
                              503(b)(9) Claim was satisfied by payments made by the Debtor
                              pursuant to any order of the Bankruptcy Court authorizing the
                              Debtor to pay prepetition Claims.

                      (c)     Attorneys (with full access accounts) and employees of
                              institutional creditors (with limited access accounts) should file
                              proofs of claim electronically on the Court’s Case
                              Management/Electronic Case File (“CM/ECF”) system. Those
                              without accounts with the CM/ECF system may electronically
                              create and file proofs of claim through the “File A Proof of Claim”
                              link on the Court’s website at www.nysb.uscourts.gov or by
                              mailing or delivering the original proof of claim to the United
                              States Bankruptcy Court, Southern District of New York, Office of
                              the Clerk of the Bankruptcy Court, 300 Quarropas Street, White
                              Plains, New York 10601.

                      (d)     Proofs of claim will be deemed filed only when received by the
                              Clerk of the Bankruptcy Court on or before the Bar Date.

 PROOFS OF CLAIM SUBMITTED BY FAX OR E-MAIL WILL NOT BE ACCEPTED
            AND WILL NOT BE DEEMED TIMELY SUBMITTED.

       9.      The following persons or entities need not submit a Proof of Claim in this chapter

11 case on or prior to the General Claims Bar Date:

                      (a)     any person or entity that has already submitted a Proof of Claim
                              against the Debtor with the Clerk of the Bankruptcy Court in a
                              form substantially similar to Official Bankruptcy Form No. 410;

                      (b)     any person or entity whose Claim is listed on the Schedules filed
                              by the Debtor; provided that (i) the Claim is not scheduled as
                              “disputed,” “contingent,” or “unliquidated”; and (ii) the claimant
                              agrees with the amount, nature, and priority of the Claim as set
                              forth in the Schedules;

                      (c)     any holder of a Claim previously allowed by order of the
                              Bankruptcy Court;

                      (d)     any holder of a Claim that has already been paid in full;




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                       (e)     any holder of a Claim for which a specific deadline has previously
                               been fixed by the Bankruptcy Court or otherwise fixed pursuant to
                               the Bar Date Order;

                       (f)     any holder of a Claim based on an equity interest in the Debtors;

                       (g)     any holder of a claim allowable under sections 503(b) and
                               507(a)(2) of the Bankruptcy Code as an expense of administration
                               incurred in the ordinary course, provided that any person or entity
                               asserting a claim entitled to administrative expenses status under
                               section 503(b)(9) of the Bankruptcy Code must assert such claims
                               by filing a request for payment or a Proof of Claim on or prior to
                               the General Claims Bar Date;

                       (h)     any current employee of the Debtors, if an order of the Bankruptcy
                               Court authorized the Debtors to honor such Claim in the ordinary
                               course of business as a wage, commission, or benefit; and

                       (i)     any current or former officer or director for indemnification,
                               contribution, or reimbursement.

       10.     Nothing in this Bar Date Order shall prejudice the right of the Debtor or any other

party in interest to dispute or assert offsets or defenses to any Claim reflected in the Schedules.

       11.     The notice substantially in the form annexed as Exhibit “C” to the Motion is

approved and shall be deemed adequate and sufficient if served by first-class mail at least 35

days prior to the General Claims Bar Date on:

                       (a)     the U.S. Trustee;

                       (b)     each member of the Committee;

                       (c)     any persons or entities that have requested notice of the
                               proceedings in this chapter 11 case pursuant to Bankruptcy Rule
                               2002;

                       (d)     all persons or entities that have submitted Proofs of Claim against
                               the Debtor;

                       (e)     all known creditors and other known holders of Claims against the
                               Debtor, including all persons or entities listed in the Schedules for
                               which the Debtor has addresses;

                       (f)     all parties to executory contracts and unexpired leases of the
                               Debtor;


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                       (g)     all parties to litigation with the Debtor (through their counsel, if
                               known), and all counsel identified as counsel for any plaintiffs on
                               the docket of the multi-district litigation captioned In re: American
                               Medical Collection Agency, Inc., Customer Data Security Breach
                               Litigation (MDL No. 2904) before the United States Judicial Panel
                               on Multidistrict Litigation, provided that in the case of class action
                               litigation, service will be provided only to named plaintiff(s)
                               through their counsel;

                       (h)     the Internal Revenue Service for the Southern District of New
                               York;

                       (i)     any other governmental units applicable to the Debtor’s
                               businesses; and

                       (j)     state attorneys general for states in which the Debtor conducts
                               business.

       12.     After the initial mailing of the Bar Date Notices and Proof of Claim Forms, the

Debtor may, in its discretion, make supplemental mailings of notices, including in the event that:

(a) notices are returned by the post office with forwarding addresses; (b) certain parties acting on

behalf of parties in interest decline to pass along notices to these parties and instead return their

names and addresses to the Debtor for direct mailing, and (c) additional potential claimants

become known to the Debtor. In this regard, the Debtor may make supplemental mailings of the

Bar Date Notices and Proof of Claim Forms in these and similar circumstances at any time up to

21 days in advance of the applicable Bar Date, with any such mailings being deemed timely and

the appropriate Bar Date being applicable to the recipient creditors.

       13.     Pursuant to Bankruptcy Rules 2002(f) and 2002(l), the Debtor shall publish a

form of the Bar Date Notice (modified as necessary but consistent with the requirements of the

Guidelines), substantially in the form annexed as Exhibit “D” to the Motion, on one occasion in

The New York Times (National Edition) at least 28 days prior to the General Claims Bar Date,

which publication is hereby approved and shall be deemed good, adequate, and sufficient

publication notice of the General Claims Bar Date.


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          14.   Any person or entity who desires to rely on the Schedules will have the

responsibility for determining that such person’s or entity’s Claim is accurately listed in the

Schedules.

          15.   The Debtor is authorized to take all actions and make any payments necessary to

effectuate the relief granted pursuant to this Bar Date Order in accordance with the Motion.

          16.   Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such motion and the requirements of the local rules of this Court are satisfied by such

notice.

          17.   Notwithstanding anything to the contrary, the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

          18.   Entry of this Bar Date Order is without prejudice to the right of the Debtor to seek

a further order of this Court fixing a date by which holders of Claims or interests not subject to

the General Claims Bar Date established herein must submit such Proofs of Claim or interest or

be barred from doing so.

          19.   The Bankruptcy Court retains jurisdiction with respect to all matters arising from

or related to the implementation of this Bar Date Order.


Dated: ____________, 2019
       White Plains, New York



                                      THE HONORABLE ROBERT D. DRAIN
                                      UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit “B”

                          Proposed Form of Proof of Claim
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United States Bankruptcy Court, Southern District
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              Retrieval-Masters Creditors Bureau, Inc.
      Debtor: __________________________________________

                   19-23185 (RDD)
      Case Number: ____________________________________




 Official Form 410
 Proof of Claim                                                                                                                                            4/16

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                  No
   someone else?                  Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
   Federal Rule of
   Bankruptcy Procedure
   (FRBP) 2002(g)




                               Contact phone                                                               Contact phone

                               Contact email                                                               Contact email

4. Does this claim amend          No
   one already filed?             Yes. Claim number on court claims registry (if known)                                        Filed on
                                                                                                                                           MM   / DD   / YYYY



5. Do you know if anyone          No
   else has filed a proof         Yes. Who made the earlier filing?
   of claim for this claim?




  Official Form 410                                                      Proof of Claim                                                           page 1
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   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?



7. How much is the claim?          $                                       . Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim    No
     secured?                     Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:



                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                            $


                                           Amount of the claim that is secured:          $


                                           Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $



                                           Annual Interest Rate (when case was filed)              %
                                              Fixed
                                              Variable


10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property:




   Official Form 410                                                   Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                                 Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                $
   nonpriority. For example,
   in some categories, the                   Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
   entitled to priority.
                                             Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(             ) that applies.                          $

                                          * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the          No
    claim entitled to
    administrative priority        Yes. (i) Include the value of the goods delivered to and received by Cenveo in the 20 days prior                $ ____________________
    pursuant to                           to the Commencement Date; (ii) attach any documentation identifying the particular invoices for
    11 U.S.C. § 503(b)(9)?                which the 503(b)(9) Claim is being asserted; (iii) attach documentation of any reclamation
                                          demand made to any Debtor under section 546(c) of the Bankruptcy Code (if applicable); (iv) set
                                          forth whether any portion of the 503(b)(9) Claim was satisfied by payments made by Cenveo
                                          pursuant to any order of the Bankruptcy Court authorizing Cenveo to pay prepetition Claims.


 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                           I am the creditor’s attorney or authorized agent.
 If you file this claim                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules         I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature      amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.
                                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 A person who files a             and correct.
 fraudulent claim could be
 fined up to $500,000,            I declare under penalty of perjury that the foregoing is true and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.




                                  Name of the person who is completing and signing this claim:

                                  Name
                                                          First name                           Middle name                            Last name

                                  Title

                                  Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          Number            Street


                                                          City                                                         State          ZIP Code

                                  Contact phone                                                                        Email




 Official Form 410                                                           Proof of Claim                                                                  page 3
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                                    Exhibit “C”

                              Proposed Bar Date Notice
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CHAPMAN AND CUTLER LLP
Steven Wilamowsky
1270 Avenue of the Americas
30th Floor
New York, NY 10020-1708
Telephone: 212.655.6000

-and-

Aaron M. Krieger
111 West Monroe Street
Chicago, IL 60603-4080
Telephone: 312.845.3000

Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x

           NOTICE OF DEADLINE REQUIRING SUBMISSION OF PROOFS OF
             CLAIM ON OR BEFORE OCTOBER 23, 2019 AND RELATED
            PROCEDURES FOR SUBMITTING PROOFS OF CLAIM IN THE
                     ABOVE-CAPTIONED CHAPTER 11 CASE

TO: ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST THE DEBTOR
IN THE ABOVE-CAPTIONED CHAPTER 11 CASE.

The United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”) has entered an order (the “Bar Date Order”) establishing 5:00 p.m. Eastern Daylight
Savings Time on October 23, 2019 (the “General Claims Bar Date”), as the last date for each
person or entity2 (including individuals, partnerships, corporations, joint ventures, and trusts) to


1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
2
        As used herein, the term “entity” has the meaning given to it in section 101(15) of title 11 of the United
        States Code (the “Bankruptcy Code”), and includes all persons, estates, trusts and the United States trustee.
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submit a Proof of Claim against the Debtor (the “Debtor”) in the above-captioned chapter 11 case.

Except for those holders of the claims listed below that are specifically excluded from the
General Claims Bar Date submission requirement, the Bar Dates3 and the procedures set forth
below for submitting proofs of claim (each, a “Proof of Claim”) apply to all Claims (defined
below) against the Debtor that arose prior to June 17, 2019 (the “Petition Date”), the date on
which the Debtor commenced its case under chapter 11 of the United States Bankruptcy Code,
including parties asserting Claims pursuant to section 503(b)(9) of the Bankruptcy Code (each, a
“503(b)(9) Claim”).4 In addition, governmental units have until 5:00 p.m. Eastern Standard
Time on December 16, 2019 to submit Proofs of Claim.

A HOLDER OF A POSSIBLE CLAIM AGAINST THE DEBTOR SHOULD CONSULT
AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE,
SUCH AS WHETHER THE HOLDER SHOULD SUBMIT A PROOF OF CLAIM.

                                 Who Must Submit a Proof of Claim

You MUST submit a Proof of Claim to vote on a chapter 11 plan filed by the Debtor or to share
in distributions from the Debtor’s bankruptcy estate if you have a Claim that arose before the
Petition Date and it is not one of the types of Claims described under the heading “Who Need
Not Submit a Proof of Claim” below. Claims based on acts or omissions of the Debtor that
occurred before the Petition Date must be submitted on or prior to the applicable Bar Date, even
if such Claims are not now fixed, liquidated, or certain or did not mature or become fixed,
liquidated, or certain before the Commencement Date.

Under section 101(5) of the Bankruptcy Code and as used in this notice, the word “Claim”
means: (a) a right to payment, whether or not such right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured; or (b) a right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured.

                                              What to Submit

The Debtor is enclosing a Proof of Claim form for use in the cases. You may utilize the Proof of
Claim form provided by the Debtor to submit your Claim.


       Further, the terms “person” and “governmental unit” have the meanings given to them in sections 101(41)
       and 101(27) of the Bankruptcy Code, respectively
3
       Defined collectively as the Rejection Bar Date (further defined herein), the General Claims Bar Date, the
       Supplemental Bar Date (further defined herein), and the Governmental Bar Date
4
       “503(b)(9) Claims” are Claims on account of goods received by a Debtor within 20 days before the
       Commencement Date, where such goods were sold to the Debtor in the ordinary course of such Debtor’s
       business. See 11 U.S.C. § 503(b)(9).



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Your Proof of Claim form must not contain complete social security numbers or taxpayer
identification numbers (only the last four digits), a complete birth date (only the year), the name
of a minor (only the minor’s initials) or a financial account number (only the last four digits of
such financial account).

The following procedures for the submission of Proofs of Claim against the Debtor in this
chapter 11 case shall apply:

                       a.     Each Proof of Claim must: (i) be written in English; (ii) include a
                              Claim amount denominated in United States dollars; (iii) conform
                              substantially with the Proof of Claim Form provided by the Debtor
                              or Official Form 410; (iv) be filed in accordance with the Bar Date
                              Order; and (v) unless otherwise consented to by the Debtor in
                              writing, include supporting documentation unless voluminous, in
                              which case a summary must be attached or an explanation
                              provided as to why documentation is not available.

                       b.     In addition to the requirements set forth in (a) above, any Proof of
                              Claim asserting a 503(b)(9) Claim must also: (i) include the value
                              of the goods delivered to and received by the Debtor in the 20 days
                              prior to the Petition Date; (ii) attach any documentation identifying
                              the particular invoices for which the 503(b)(9) Claim is being
                              asserted; (iii) attach documentation of any reclamation demand
                              made to the Debtor under section 546(c) of the Bankruptcy Code
                              (if applicable); and (iv) set forth whether any portion of the
                              503(b)(9) Claim was satisfied by payments made by the Debtor
                              pursuant to any order of the Bankruptcy Court authorizing the
                              Debtor to pay prepetition Claims.

                       c.     Attorneys (with full access accounts) and employees of
                              institutional creditors (with limited access accounts) should file
                              proofs of claim electronically on the Court’s Case
                              Management/Electronic Case File (“CM/ECF”) system. Those
                              without accounts with the CM/ECF system may electronically
                              create and file proofs of claim through the “File A Proof of Claim”
                              link on the Court’s website at www.nysb.uscourts.gov or by
                              mailing or delivering the original proof of claim to the United
                              States Bankruptcy Court, Southern District of New York, Office of
                              the Clerk of the Bankruptcy Court, 300 Quarropas Street, White
                              Plains, New York 10601.

                       d.     Proofs of claim will be deemed filed only when received by the
                              Clerk of the Bankruptcy Court on or before the Bar Date.

  PROOFS OF CLAIM SUBMITTED BY FAX OR E-MAIL WILLNOT BE ACCEPTED
             AND WILL NOT BE DEEMED TIMELY SUBMITTED.




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                           Who Need Not Submit a Proof of Claim

You do not need to submit a Proof of Claim on or prior to the Bar Date if you are:

                      a.      any person or entity that has already submitted a Proof of Claim
                              against the Debtor with the Clerk of the Bankruptcy Court in a form
                              substantially similar to Official Bankruptcy Form No. 410;

                      b.      any person or entity whose Claim is listed on the Schedules filed by
                              the Debtor; provided that (i) the Claim is not scheduled as
                              “disputed,” “contingent,” or “unliquidated”; and (ii) the claimant
                              agrees with the amount, nature, and priority of the Claim as set forth
                              in the Schedules;

                      c.      any holder of a Claim previously allowed by order of the Bankruptcy
                              Court;

                      d.      any holder of a Claim that has already been paid in full;

                      e.      any holder of a Claim for which a specific deadline has previously
                              been fixed by the Bankruptcy Court or otherwise fixed pursuant to
                              the Bar Date Order;

                      f.      any holder of a Claim based on an equity interest in the Debtors;

                      g.      any holder of a claim allowable under sections 503(b) and 507(a)(2)
                              of the Bankruptcy Code as an expense of administration incurred in
                              the ordinary course, provided that any person or entity asserting a
                              claim entitled to administrative expenses status under section
                              503(b)(9) of the Bankruptcy Code must assert such claims by filing
                              a request for payment or a Proof of Claim on or prior to the General
                              Claims Bar Date;

                      h.      any current employee of the Debtors, if an order of the Bankruptcy
                              Court authorized the Debtors to honor such Claim in the ordinary
                              course of business as a wage, commission, or benefit; and

                      i.      any current or former officer or director for indemnification,
                              contribution, or reimbursement.

THIS NOTICE IS BEING SENT TO MANY PERSONS AND ENTITIES THAT HAVE HAD
SOME RELATIONSHIP WITH OR HAVE DONE BUSINESS WITH THE DEBTOR, BUT
MAY NOT HAVE AN UNPAID CLAIM AGAINST THE DEBTOR. THE FACT THAT YOU
HAVE RECEIVED THIS NOTICE DOES NOT MEAN THAT YOU HAVE A CLAIM OR
THAT THE DEBTOR OR THE BANKRUPTCY COURT BELIEVE THAT YOU HAVE ANY
CLAIM.




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                          Executory Contracts and Unexpired Leases

If you have a Claim arising from the rejection of an executory contract or unexpired lease, you
must submit your Proof of Claim based on such rejection on or before the later of (a) the General
Claims Bar Date and (b) any date the Bankruptcy Court may fix in the applicable order
authorizing such rejection and, if no such date is provided, 30 days from the date of entry of such
order, (the “Rejection Bar Date”). The Debtor will provide notice of the Rejection Bar Date to
the contract or lease counterparty whose contract or lease is being rejected at the time the Debtor
rejects any executory contract or unexpired lease.

                                     Supplemental Bar Date

In the event the Debtor amends or supplements its Schedules, the Debtor shall give notice of any
such amendment to the holders of any Claim affected thereby, and such holders shall be afforded
at least 35 days from the date on which such notice is given to submit a Proof of Claim with
respect to such amended Claim (any such date, a “Supplemental Bar Date”) or be forever barred
from doing so.

                          The Debtor’s Schedules and Access Thereto

You may be listed as the holder of a Claim against the Debtor in the Debtor’s Schedules of
Assets and Liabilities and/or Schedules of Executory Contracts and Unexpired Leases
(collectively, the “Schedules”). Copies of the Debtor’s Schedules are available: (a) by written
request to Debtor’s proposed counsel at the address and telephone number set forth below;
and/or (b) for inspection on the Bankruptcy Court’s Internet Website at
http://ecf.nysb.uscourts.gov. A login and password to the Bankruptcy Court’s Public Access to
Electronic Court Records are required to access this information and can be obtained at
http://www.pacer.psc.uscourts.gov. Copies of the Schedules may also be examined between the
hours of 9:00 a.m. and 4:00 p.m., Monday through Friday, at the Office of the Clerk of the
Bankruptcy Court, 300 Quarropas Street, White Plains, New York 10601.

If you rely on the Debtor’s Schedules, it is your responsibility to determine that the Claim is
accurately listed in the Schedules.

As set forth above, if you agree with the nature, amount, and classification of your Claim as
listed in the Debtor’s Schedules, and if your Claim is not described as “disputed,” “contingent,”
or “unliquidated,” you need not submit a Proof of Claim. Otherwise, or if you decide to submit a
Proof of Claim, you must do so before the applicable Bar Date in accordance with the procedures
set forth in this notice.

                                      Reservation of Rights

Nothing contained in this Bar Date Notice is intended, or should be construed, as a waiver of the
Debtor’s right to: (a) dispute, or assert offsets or defenses against, any submitted Proof of Claim
or any claim listed or reflected in the Schedules as to the nature, amount, liability, or
classification of such claims; (b) subsequently designate any scheduled claim as disputed,
contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules.



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     Consequences of Failure To Submit a Proof of Claim by the Applicable Bar Date

ANY HOLDER OF A CLAIM THAT IS NOT LISTED IN THIS NOTICE AS A PARTY
EXCEPTED FROM THE REQUIREMENTS OF THE BAR DATE ORDER AND THAT
FAILS TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM WILL
BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM (1) ASSERTING SUCH
CLAIM AGAINST THE DEBTOR AND ITS CHAPTER 11 ESTATE, (2) VOTING ON ANY
CHAPTER 11 PLAN OF REORGANIZATION FILED IN THIS CASE ON ACCOUNT OF
SUCH CLAIM, AND (3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTOR’S
CHAPTER 11 CASE ON ACCOUNT OF SUCH CLAIM. BY ORDER OF THE COURT.




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Dated: September [__], 2019
       New York, New York

                                  CHAPMAN AND CUTLER LLP
                                  Proposed Counsel for the Debtor and
                                  Debtor in Possession


                                  By:     /s/ [DRAFT]
                                        Steven Wilamowsky
                                        1270 Avenue of the Americas
                                        30th Floor
                                        New York, NY 10020-1708
                                        Telephone: 212.655.6000

                                        -and-

                                        Aaron M. Krieger
                                        111 West Monroe Street
                                        Chicago, IL 60603-4080
                                        Telephone: 312.845.3000
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                                    Exhibit “D”

                             Proposed Publication Notice
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CHAPMAN AND CUTLER LLP
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1270 Avenue of the Americas
30th Floor
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Telephone: 212.655.6000

-and-

Aaron M. Krieger
111 West Monroe Street
Chicago, IL 60603-4080
Telephone: 312.845.3000

Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x

           NOTICE OF DEADLINE REQUIRING SUBMISSION OF PROOFS OF
             CLAIM ON OR BEFORE OCTOBER 23, 2019 AND RELATED
            PROCEDURES FOR SUBMITTING PROOFS OF CLAIM IN THE
                     ABOVE-CAPTIONED CHAPTER 11 CASE

TO: ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST THE DEBTOR
IN THE ABOVE-CAPTIONED CHAPTER 11 CASE.

The United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”) has entered an order (the “Bar Date Order”) establishing 5:00 p.m. Eastern Daylight
Savings Time on October 23, 2019 (the “General Claims Bar Date”), as the last date for each
person or entity2 (including individuals, partnerships, corporations, joint ventures, and trusts) to


1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
2
        As used herein, the term “entity” has the meaning given to it in section 101(15) of title 11 of the United
        States Code (the “Bankruptcy Code”), and includes all persons, estates, trusts and the United States trustee.
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submit a Proof of Claim against the Debtor (the “Debtor”) in the above-captioned chapter 11 case.

Except for those holders of the claims listed below that are specifically excluded from the
General Claims Bar Date submission requirement, the Bar Dates3 and the procedures set forth
below for submitting proofs of claim (each, a “Proof of Claim”) apply to all Claims (defined
below) against the Debtor that arose prior to June 17, 2019 (the “Petition Date”), the date on
which the Debtor commenced its case under chapter 11 of the United States Bankruptcy Code,
including parties asserting Claims pursuant to section 503(b)(9) of the Bankruptcy Code (each, a
“503(b)(9) Claim”).4 In addition, governmental units have until 5:00 p.m. Eastern Standard
Time on December 16, 2019 to submit Proofs of Claim.

A HOLDER OF A POSSIBLE CLAIM AGAINST THE DEBTOR SHOULD CONSULT
AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE,
SUCH AS WHETHER THE HOLDER SHOULD SUBMIT A PROOF OF CLAIM.

                                 Who Must Submit a Proof of Claim

You MUST submit a Proof of Claim to vote on a chapter 11 plan filed by the Debtor or to share
in distributions from the Debtor’s bankruptcy estate if you have a Claim that arose before the
Petition Date and it is not one of the types of Claims described under the heading “Who Need
Not Submit a Proof of Claim” below. Claims based on acts or omissions of the Debtor that
occurred before the Petition Date must be submitted on or prior to the applicable Bar Date, even
if such Claims are not now fixed, liquidated, or certain or did not mature or become fixed,
liquidated, or certain before the Commencement Date.

Under section 101(5) of the Bankruptcy Code and as used in this notice, the word “Claim”
means: (a) a right to payment, whether or not such right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured; or (b) a right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured.

                                              What to Submit

The Debtor is enclosing a Proof of Claim form for use in the cases. You may utilize the Proof of
Claim form provided by the Debtor to submit your Claim.


       Further, the terms “person” and “governmental unit” have the meanings given to them in sections 101(41)
       and 101(27) of the Bankruptcy Code, respectively
3
       Defined collectively as the Rejection Bar Date (further defined herein), the General Claims Bar Date, the
       Supplemental Bar Date (further defined herein), and the Governmental Bar Date
4
       “503(b)(9) Claims” are Claims on account of goods received by a Debtor within 20 days before the
       Commencement Date, where such goods were sold to the Debtor in the ordinary course of such Debtor’s
       business. See 11 U.S.C. § 503(b)(9).



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Your Proof of Claim form must not contain complete social security numbers or taxpayer
identification numbers (only the last four digits), a complete birth date (only the year), the name
of a minor (only the minor’s initials) or a financial account number (only the last four digits of
such financial account).

The following procedures for the submission of Proofs of Claim against the Debtor in this
chapter 11 case shall apply:

                       a.     Each Proof of Claim must: (i) be written in English; (ii) include a
                              Claim amount denominated in United States dollars; (iii) conform
                              substantially with the Proof of Claim Form provided by the Debtor
                              or Official Form 410; (iv) be filed in accordance with the Bar Date
                              Order; and (v) unless otherwise consented to by the Debtor in
                              writing, include supporting documentation unless voluminous, in
                              which case a summary must be attached or an explanation
                              provided as to why documentation is not available.

                       b.     In addition to the requirements set forth in (a) above, any Proof of
                              Claim asserting a 503(b)(9) Claim must also: (i) include the value
                              of the goods delivered to and received by the Debtor in the 20 days
                              prior to the Petition Date; (ii) attach any documentation identifying
                              the particular invoices for which the 503(b)(9) Claim is being
                              asserted; (iii) attach documentation of any reclamation demand
                              made to the Debtor under section 546(c) of the Bankruptcy Code
                              (if applicable); and (iv) set forth whether any portion of the
                              503(b)(9) Claim was satisfied by payments made by the Debtor
                              pursuant to any order of the Bankruptcy Court authorizing the
                              Debtor to pay prepetition Claims.

                       c.     Attorneys (with full access accounts) and employees of
                              institutional creditors (with limited access accounts) should file
                              proofs of claim electronically on the Court’s Case
                              Management/Electronic Case File (“CM/ECF”) system. Those
                              without accounts with the CM/ECF system may electronically
                              create and file proofs of claim through the “File A Proof of Claim”
                              link on the Court’s website at www.nysb.uscourts.gov or by
                              mailing or delivering the original proof of claim to the United
                              States Bankruptcy Court, Southern District of New York, Office of
                              the Clerk of the Bankruptcy Court, 300 Quarropas Street, White
                              Plains, New York 10601.

                       d.     Proofs of claim will be deemed filed only when received by the
                              Clerk of the Bankruptcy Court on or before the Bar Date.

  PROOFS OF CLAIM SUBMITTED BY FAX OR E-MAIL WILLNOT BE ACCEPTED
             AND WILL NOT BE DEEMED TIMELY SUBMITTED.




                                                 3
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                           Who Need Not Submit a Proof of Claim

You do not need to submit a Proof of Claim on or prior to the Bar Date if you are:

                      a.      any person or entity that has already submitted a Proof of Claim
                              against the Debtor with the Clerk of the Bankruptcy Court in a form
                              substantially similar to Official Bankruptcy Form No. 410;

                      b.      any person or entity whose Claim is listed on the Schedules filed by
                              the Debtor; provided that (i) the Claim is not scheduled as
                              “disputed,” “contingent,” or “unliquidated”; and (ii) the claimant
                              agrees with the amount, nature, and priority of the Claim as set forth
                              in the Schedules;

                      c.      any holder of a Claim previously allowed by order of the Bankruptcy
                              Court;

                      d.      any holder of a Claim that has already been paid in full;

                      e.      any holder of a Claim for which a specific deadline has previously
                              been fixed by the Bankruptcy Court or otherwise fixed pursuant to
                              the Bar Date Order;

                      f.      any holder of a Claim based on an equity interest in the Debtors;

                      g.      any holder of a claim allowable under sections 503(b) and 507(a)(2)
                              of the Bankruptcy Code as an expense of administration incurred in
                              the ordinary course, provided that any person or entity asserting a
                              claim entitled to administrative expenses status under section
                              503(b)(9) of the Bankruptcy Code must assert such claims by filing
                              a request for payment or a Proof of Claim on or prior to the General
                              Claims Bar Date;

                      h.      any current employee of the Debtors, if an order of the Bankruptcy
                              Court authorized the Debtors to honor such Claim in the ordinary
                              course of business as a wage, commission, or benefit; and

                      i.      any current or former officer or director for indemnification,
                              contribution, or reimbursement.

THIS NOTICE IS BEING SENT TO MANY PERSONS AND ENTITIES THAT HAVE HAD
SOME RELATIONSHIP WITH OR HAVE DONE BUSINESS WITH THE DEBTOR, BUT
MAY NOT HAVE AN UNPAID CLAIM AGAINST THE DEBTOR. THE FACT THAT YOU
HAVE RECEIVED THIS NOTICE DOES NOT MEAN THAT YOU HAVE A CLAIM OR
THAT THE DEBTOR OR THE BANKRUPTCY COURT BELIEVE THAT YOU HAVE ANY
CLAIM.




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                          Executory Contracts and Unexpired Leases

If you have a Claim arising from the rejection of an executory contract or unexpired lease, you
must submit your Proof of Claim based on such rejection on or before the later of (a) the General
Claims Bar Date and (b) any date the Bankruptcy Court may fix in the applicable order
authorizing such rejection and, if no such date is provided, 30 days from the date of entry of such
order, (the “Rejection Bar Date”). The Debtor will provide notice of the Rejection Bar Date to
the contract or lease counterparty whose contract or lease is being rejected at the time the Debtor
rejects any executory contract or unexpired lease.

                                     Supplemental Bar Date

In the event the Debtor amends or supplements its Schedules, the Debtor shall give notice of any
such amendment to the holders of any Claim affected thereby, and such holders shall be afforded
at least 35 days from the date on which such notice is given to submit a Proof of Claim with
respect to such amended Claim (any such date, a “Supplemental Bar Date”) or be forever barred
from doing so.

                          The Debtor’s Schedules and Access Thereto

You may be listed as the holder of a Claim against the Debtor in the Debtor’s Schedules of
Assets and Liabilities and/or Schedules of Executory Contracts and Unexpired Leases
(collectively, the “Schedules”). Copies of the Debtor’s Schedules are available: (a) by written
request to Debtor’s proposed counsel at the address and telephone number set forth below;
and/or (b) for inspection on the Bankruptcy Court’s Internet Website at
http://ecf.nysb.uscourts.gov. A login and password to the Bankruptcy Court’s Public Access to
Electronic Court Records are required to access this information and can be obtained at
http://www.pacer.psc.uscourts.gov. Copies of the Schedules may also be examined between the
hours of 9:00 a.m. and 4:00 p.m., Monday through Friday, at the Office of the Clerk of the
Bankruptcy Court, 300 Quarropas Street, White Plains, New York 10601.

If you rely on the Debtor’s Schedules, it is your responsibility to determine that the Claim is
accurately listed in the Schedules.

As set forth above, if you agree with the nature, amount, and classification of your Claim as
listed in the Debtor’s Schedules, and if your Claim is not described as “disputed,” “contingent,”
or “unliquidated,” you need not submit a Proof of Claim. Otherwise, or if you decide to submit a
Proof of Claim, you must do so before the applicable Bar Date in accordance with the procedures
set forth in this notice.

                                      Reservation of Rights

Nothing contained in this Bar Date Notice is intended, or should be construed, as a waiver of the
Debtor’s right to: (a) dispute, or assert offsets or defenses against, any submitted Proof of Claim
or any claim listed or reflected in the Schedules as to the nature, amount, liability, or
classification of such claims; (b) subsequently designate any scheduled claim as disputed,
contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules.



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     Consequences of Failure To Submit a Proof of Claim by the Applicable Bar Date

ANY HOLDER OF A CLAIM THAT IS NOT LISTED IN THIS NOTICE AS A PARTY
EXCEPTED FROM THE REQUIREMENTS OF THE BAR DATE ORDER AND THAT
FAILS TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM WILL
BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM (1) ASSERTING SUCH
CLAIM AGAINST THE DEBTOR AND ITS CHAPTER 11 ESTATE, (2) VOTING ON ANY
CHAPTER 11 PLAN OF REORGANIZATION FILED IN THIS CASE ON ACCOUNT OF
SUCH CLAIM, AND (3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTOR’S
CHAPTER 11 CASE ON ACCOUNT OF SUCH CLAIM. BY ORDER OF THE COURT.




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Dated: September [__], 2019
       New York, New York

                                  CHAPMAN AND CUTLER LLP
                                  Proposed Counsel for the Debtor and
                                  Debtor in Possession


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